              Case 2:02-cr-00048-MCE Document 183 Filed 09/08/10 Page 1 of 2




 1

 2

 3

 4

 5

 6

 7

 8                            IN THE UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                            No. 2:02-cr-00048-MCE-DAD-P

12                  Respondent,

13          v.                                            ORDER

14   JAIME RIOS VIZCARRA,

15                  Movant.

16                                          /

17          Movant, a federal prisoner proceeding pro se, has filed a motion to vacate, set aside, or

18   correct his sentence pursuant to 28 U.S.C. § 2255. The matter was referred to a United States

19   Magistrate Judge pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.

20          On August 2, 2010, the magistrate judge filed findings and recommendations herein

21   which were served on all parties and which contained notice to all parties that any objections to

22   the findings and recommendations were to be filed within twenty days. Movant has filed

23   objections to the findings and recommendations.

24   ///

25   ///

26   ////

                                                     1
                 Case 2:02-cr-00048-MCE Document 183 Filed 09/08/10 Page 2 of 2




 1           In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this

 2   court has conducted a de novo review of this case. Having carefully reviewed the entire file, the

 3   court finds the findings and recommendations to be supported by the record and by proper

 4   analysis.

 5           Accordingly, IT IS HEREBY ORDERED that:

 6           1. The findings and recommendations filed on August 2, 2010 (Doc. No. 180) are

 7   adopted in full;

 8           2. Movant’s May 8, 2008 motion to vacate, set aside, or correct his sentence pursuant to

 9   28 U.S.C. § 2255 (Doc. No. 164) is denied;

10           3. The Clerk of the Court is directed to close the companion civil case, No. CIV S-08-

11   1022 MCE DAD; and

12           4. For the reasons set forth in the August 2, 2010 findings and recommendations, movant

13   has not made a substantial showing of the denial of a constitutional right. Accordingly, a

14   certificate of appealability should not issue in this action.

15
      Dated: September 8, 2010
16
                                                     ________________________________
17                                                   MORRISON C. ENGLAND, JR.
                                                     UNITED STATES DISTRICT JUDGE
18

19

20

21

22

23

24

25

26

                                                        2
